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                                          U.S. Department of Justice
[Type text]
                                                  United States Attorney
                                                  Southern District of New York

                                                  The Silvio J. Mollo Building
                                                  One Saint Andrew’s Plaza
                                                  New York, New York 10007


                                                  March 5, 2021
BY ECF

The Honorable Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:    United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

       The Government respectfully writes, pursuant to the Court’s March 5, 2021 Order (Dkt.
No. 177), to attach a copy of the Government’s February 22, 2021 ex parte letter.

                                           Respectfully submitted,

                                           AUDREY STRAUSS
                                           United States Attorney

                                       by: /s/ Paul M. Monteleoni
                                           Paul M. Monteleoni
                                           Hagan Scotten
                                           Benet J. Kearney
                                           Assistant United States Attorneys
                                           (212) 637-2219/2410/2260
cc: Counsel of Record (via ECF)
